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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                             :
Coretta Ellison,                             :
                                               Civil Action No.: ______
                                             :
                     Plaintiff,              :
      v.                                     :
                                             :
                                               COMPLAINT
Total Card, Inc.; and                        :
DOES 1-10, inclusive,                        :
                                             :
                                               August 3, 2011
                     Defendants.             :
                                             :


      For this Complaint, the Plaintiff, Coretta Ellison, by undersigned counsel,

states as follows:


                                     JURISDICTION

      1.      This action arises out of Defendants‟ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiff‟s personal privacy by the Defendants and their agents in

their illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.


                                        PARTIES

      4.      The Plaintiff, Coretta Ellison (“Plaintiff”), is an adult individual

residing in Hartford, CT, and is a “consumer” as the term is defined by 15 U.S.C.

§ 1692a(3).
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      5.       Defendant Total Card, Inc. (“Total”), is a South Dakota business

entity with an address of 5109 S Broadband Lane, Sioux Falls, South Dakota

57108-2208, operating as a collection agency, and is a “debt collector” as the

term is defined by 15 U.S.C. § 1692a(6).

      6.       Does 1-10 (the “Collectors”) are individual collectors employed by

Total and whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.       Total at all times acted by and through one or more of the Collectors.


                    ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


      8.       A financial obligation (the “Debt”) was incurred to a creditor (the

“Creditor”).

      9.       The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

      10.      The Debt was purchased, assigned or transferred to Total for

collection, or Total was employed by the Creditor to collect the Debt.

      11.      The Defendants attempted to collect the Debt and, as such, engaged

in “communications” as defined in 15 U.S.C. § 1692a(2).


   B. Total Engages in Harassment and Abusive Tactics


      12.      Within the past year Defendants have placed up to three (3) calls a

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day to Plaintiff‟s residential phone line in an attempt to locate a “Cora

Thompson.”

       13.      Defendants failed to identify the name of the debt collection entity

when speaking with Plaintiff.

       14.      Plaintiff notified Defendants that Cora Thompson did not reside at

Plaintiff‟s residence and requested that Defendants cease calls.

       15.      Despite Plaintiff‟s requests, Defendants continued to place calls „to

Plaintiff.

       16.      Defendants placed automated calls with pre-recorded voice

messages on Plaintiff‟s residential phone line in an attempt to collect the Debt.


   C. Plaintiff Suffered Actual Damages


       17.      The Plaintiff has suffered and continues to suffer actual damages as

a result of the Defendants‟ unlawful conduct.

       18.      As a direct consequence of the Defendants‟ acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,

anxiety, emotional distress, fear, frustration and embarrassment.


                                        COUNT I

                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       19.      The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

       20.      The Defendants‟ conduct violated 15 U.S.C. § 1692d(5) in that

Defendants caused a phone to ring repeatedly and engaged the Plaintiff in


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telephone conversations, with the intent to annoy and harass.

      21.     The Defendants‟ conduct violated 15 U.S.C. § 1692d(6) in that

Defendants placed calls to the Plaintiff without disclosing the identity of the debt

collection agency.

      22.     The Defendants‟ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

      23.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the

above-cited provisions.

      24.     The Plaintiff is entitled to damages as a result of Defendants'

violations.


                                       COUNT II

              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

      25.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      26.     The Restatement of Torts, Second, § 652(b) defines intrusion upon

seclusion as, “One who intentionally intrudes…upon the solitude or seclusion of

another, or his private affairs or concerns, is subject to liability to the other for

invasion of privacy, if the intrusion would be highly offensive to a reasonable

person.”

      27.     Connecticut further recognizes the Plaintiff‟s right to be free from

invasions of privacy, thus the Defendants violated Connecticut state law.

      28.     The Defendants intentionally intruded upon Plaintiff‟s right to privacy


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by continually harassing the Plaintiff with phone calls to her home.

      29.     The telephone calls made by the Defendants to the Plaintiffs were so

persistent and repeated with such frequency as to be considered, “hounding the

plaintiff,” and, “a substantial burden to her existence,” thus satisfying the

Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy.

      30.     The conduct of the Defendants in engaging in the illegal collection

activities resulted in multiple invasions of privacy in such a way as would be

considered highly offensive to a reasonable person.

      31.     As a result of the intrusions and invasions, the Plaintiff is entitled to

actual damages in an amount to be determined at trial from the Defendants.

      32.     All acts of the Defendants and its agents were committed with

malice, intent, wantonness, and recklessness, and as such, the Defendants is

subject to punitive damages.


                                       COUNT III

     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      33.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      34.     The Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

      35.     The Defendants engaged in unfair and deceptive acts and practices

in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      36.     The Plaintiff is entitled to damages as a result of the Defendants‟

violations.

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                                      COUNT IV

       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                          47 U.S.C. § 227, et seq.

      37.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      38.     Without prior consent the Defendants made telephone calls to the

Plaintiff‟s residential telephone line using an artificial or prerecorded voice to

deliver a message without the prior express consent of the Plaintiff in violation

of 47 U.S.C. § 227(b)(1)(B).

      39.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the Telephone Consumer Protection Act,

including every one of the above-cited provisions.

      40.     The Plaintiff is entitled to damages as a result of the Defendants‟

violations.


                                PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                    Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                    §1692k(a)(2)(A) against the Defendants;

                 3. Costs of litigation and reasonable attorney‟s fees pursuant to 15

                    U.S.C. § 1692k(a)(3) against the Defendants;

                 4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

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               5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

               6. Actual damages from the Defendants for the all damages

                  including emotional distress suffered as a result of the

                  intentional, reckless, and/or negligent FDCPA violations and

                  intentional, reckless, and/or negligent invasions of privacy in an

                  amount to be determined at trial for the Plaintiff;

               7. Punitive damages; and

               8. Such other and further relief as may be just and proper.

                  TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: August 3, 2011

                                      Respectfully submitted,

                                      By __/s/ Sergei Lemberg

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